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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO


                                                            Case No. 1:23-cv-00269-BLW
 PAM POE, et al.,
                                                           ORDER GRANTING
        Plaintiffs,                                        PLAINTIFFS’ MOTION TO FILE
                                                           UNDER SEAL (DKT. NO. 102)
                         v.

 RAÚL LABRADOR, et al.,

        Defendants.


       This matter came before the Court on an unopposed motion by Plaintiffs for permission to

file under seal their Motion to Obtain Sealed Orders Identifying Plaintiffs Who Have Obtained

Preliminary Injunction, as well as the exhibits thereto (Dkt. No. 102). The Court hereby finds that

Plaintiffs have met the standards for filing under seal.

       Under the standards set forth in Kamakana v. City and Cty. of Honolulu, 447 F.3d 1172,

1178–80 (9th Cir. 2006), Plaintiffs may file under seal because:

       1. The information that Plaintiffs seek to file under seal consists of the full names of the

           minor plaintiffs in this action;

       2. The Court has previously ordered that the Plaintiffs may proceed in this case under

           pseudonym without objection by the Defendants (Dkt. No. 40);

       3. The potential harm the minor plaintiffs face in having their identities revealed is severe

           and has been previously articulated by Plaintiffs (see Dkt. No. 11-1 at 4–8);

       4. Defendants will suffer no prejudice in this information continuing to be maintained

           under seal;

       5. The public’s access to this case will not be limited apart from its ability to ascertain the

           exact identity of the minor plaintiffs, which the Court has already addressed in granting
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          the Plaintiffs the ability to proceed under pseudonyms;

      6. There is no less restrictive alternative to sealing portions of the subject materials; and

      7. Plaintiffs’ request is narrowly tailored to only the information that would identify the

          minor plaintiffs and Plaintiffs have already filed redacted, non-confidential versions of

          the subject materials.

NOW, THEREFORE, IT IS HEREBY ORDERED:

      Plaintiffs have established compelling reasons and good cause for filing under seal, and

their Amended Motion to File Under Seal (Dkt. No. 102) is GRANTED.

      IT IS FURTHER ORDERED that the motion to file under seal (Dkt. 101), which was

amended, is DEEMED MOOT.


                                                    DATED: May 24, 2024


                                                    _________________________
                                                    B. Lynn Winmill
                                                    United States District Judge




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